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  6
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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
 11
 12    OX LABS INC., a California                  Case No. CV 18-5934-MWF(KSx)
       Corporation,
 13                                                PLAINTIFF OX LABS INC.’S
 14                Plaintiff,                      PROPOSED SPECIAL VERDICT
                                                   FORM
 15                       vs.
 16    BITPAY, INC., a Delaware                    Pretrial Conf: November 18, 2019
       Corporation, and Does 1-10,                 Time: 11:00 a.m.
 17                                                Dept.: 5A
 18                Defendants.                     Trial: December 3, 2019
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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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  1                             SPECIAL VERDICT FORM
  2
      We answer the questions submitted to us as follows:
  3
  4
            1.     Did Ox Labs own or have a right to possess the 200 Bitcoins it
  5
      mistakenly credited to BitPay’s account?
  6
  7   ___________ Yes _____________No
  8
      If your answer to question 1 is yes, then answer question 2. If you answered no,
  9
      stop here, answer no further questions, and have the presiding juror sign and date
 10
      this form.
 11
 12         2.     Did Bitpay substantially interfere with Ox Labs’ property by
 13   knowingly or intentionally refusing to return 200 Bitcoins after Ox Labs
 14   demanded their return or by selling the 200 Bitcoins without Ox Labs’
 15   authorization?
 16
      ___________ Yes _____________No
 17
 18   If your answer to question 2 is yes, then answer question 3. If you answered no,
 19   stop here, answer no further questions, and have the presiding juror sign and date
 20   this form.
 21
 22         3.     Did Ox Labs consent?

 23
      ___________ Yes _____________No
 24
 25   If your answer to question 3 is no, then answer question 4. If you answered yes,
 26   stop here, answer no further questions, and have the presiding juror sign and date
 27   this form.
 28
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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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  1         4.     Was Ox Labs harmed?
  2
      ___________ Yes _____________No
  3
  4
      If your answer to question 4 is yes, then answer question 5. If you answered no,
  5
      stop here, answer no further questions, and have the presiding juror sign and date
  6
      this form.
  7
  8         5.     Was Bitpay’s conduct a substantial factor in causing Ox Labs’
  9   harm?
 10
      ___________ Yes _____________No
 11
 12   If your answer to question 5 is yes, then answer question 6. If you answered no,
 13   skip to question 14.
 14
            6.     Was it reasonably foreseeable to a prudent person, having regard
 15
      for the accompanying circumstances, that injury or damage beyond the fair
 16
      market value of 200 Bitcoins at the time of the conversion would result from
 17
      BitPay’s acts?
 18
 19   ___________ Yes _____________No
 20
 21   If your answer to question 6 is yes, then answer question 7. If you answered no,

 22   skip to question 8.

 23
            7.     What amount of special damages should be awarded to Ox Labs?
 24
 25   $___________________
 26
      Answer question 8.
 27

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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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  1         8.      On which date did the conversion take place?
  2
      ______________________________
  3
  4
      Answer question 9.
  5
  6         9.      What was the fair market value of 200 Bitcoins on the date of
  7   conversion?
  8
      $___________________
  9
 10   Answer question 10.
 11
 12
            10.     How much should be Ox Labs be compensated for its efforts to
 13
      retrieve its property from BitPay before this lawsuit?
 14
 15   $___________________
 16
 17   Answer question 11.

 18
            11.     Is BitPay committing a continuing violation by refusing to return
 19
      Ox Labs’ property?
 20
 21   ___________ Yes _____________No
 22
      If your answer to question 11 is yes, skip to question 14. If you answered no,
 23
      proceed to the next question.
 24
 25
 26
 27

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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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  1         12.    Did Ox Labs prove by a preponderance of the evidence that it did
  2   not discover, and did not know of facts that would have caused a reasonable
  3   person to suspect, BitPay’s wrongful acts before July 6, 2015?
  4
      ___________ Yes _____________No
  5
  6   If your answer to question 12 is yes, answer question 13. If your answer to
  7   question 12 is no, stop here, answer no further questions, and have the presiding
  8   juror sign and date this form.
  9
            13.    Was Ox Labs negligent in failing to discover the basis for its
 10
      claims before July 6, 2015?
 11
 12   ___________ Yes _____________No
 13
      If your answer to question 13 is no, answer question 14. If your answer to question
 14
      13 is yes, stop here, answer no further questions, and have the presiding juror sign
 15
      and date this form.
 16
 17
            14.    Would it be unjust for BitPay to retain the 200 Bitcoins that Ox
 18
      Labs mistakenly credited to BitPay’s account?
 19
 20   ___________ Yes _____________No
 21
      Answer questions 15-18.
 22
 23         15.    Should BitPay return 200 Bitcoins to Ox Labs?
 24
      ___________ Yes _____________No
 25
 26
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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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  1         16.    Should BitPay provide 200 Bitcoin Gold to Ox Labs?
  2
      ___________ Yes _____________No
  3
  4
            17.    Should BitPay provide 200 Bitcoin Cash to Ox Labs?
  5
  6   ___________ Yes _____________No
  7
            18.    Should BitPay provide 200 Bitcoin SV to Ox Labs??
  8
  9   ___________ Yes _____________No
 10
      Answer question 19.
 11
 12         19.    Enter the number the Judge will tell you, which is the amount of
 13   prejudgment interest to be awarded.
 14
 15   $___________________________

 16
 17
 18   Signed: _________________________________
 19                      Presiding Juror
 20
      Dated: __________________________________
 21
 22   After the verdict form has been signed, notify the bailiff that you are ready to
 23   present your verdict in the courtroom.
 24
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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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  1   Dated: November 4, 2019                        Respectfully Submitted,
  2                                                  LEIDER + AYALA-BASS LLP
  3                                         By:        /s/ Philip. A. Leider
  4                                                  Philip A. Leider

  5                                                  Attorneys for Ox Labs Inc.

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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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  1                            CERTIFICATE OF SERVICE
  2         I certify that counsel of record, listed below, is being served on November 4,
  3   2019, with a copy of this document through the CM/ECF Filing System as identified
  4   on the Notice of Electronic Filing dated November 4, 2019.
  5
                                                                   /s/ Anahit Samarjian
  6                                                                Anahit Samarjian
  7
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      PLAINTIFF OX LABS INC.’S PROPOSED SPECIAL VERDICT FORM
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